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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO

Bush Truck Leasing, Inc.,                       :
                                                :          Case No. 1:20-cv-00511-SJD-KLL
              Plaintiff,                        :
                                                :          Judge Susan J. Dlott
       vs.                                      :
                                                :
All Ways Auto Transport, LLC,                   :
                                                :
              Defendant.                        :

STIPULATION OF EXTENSION FOR DEFENDANT ALL WAYS AUTO TRANSPORT,
   LLC TO MOVE, PLEAD, OR OTHERWISE RESPOND TO THE COMPLAINT

       Defendant All Ways Auto Transport, LLC (“AW Transport”) and Plaintiff Bush Truck

Leasing, Inc. have stipulated to a 21-day extension for AW Transport to move, plead, or otherwise

respond to the Complaint. The new date for AW Transport’s response is September 21, 2020.

This is AW Transport’s first extension to respond.

Respectfully submitted,                         Respectfully submitted,

 /s/ Rick L. Ashton                               /s/ Jacob D. Rhode (telephone authority)
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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing has been served upon the following parties via the
Court’s e-filing notification system on August 31, 2020:

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                                             /s/ Rick L. Ashton
                                            Rick L. Ashton




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